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SO ORDERED

; on Marjan Moussavian
Greenbaum Rowe s/Jorves B. Clark Aare AREY
James B. Clark, U.S.M.J. 99 Wood Avenue South

smith & Davis |LLp . Pettit he Iselin, NJ 08830
Date: } Ja a

COUNSELORS AT LAW P: 732-476-2662
F: 732-476-2663

mmoussavian @ greenbaumlaw.com

June 10, 2024

VY The telephore Conference
iS aclourned toTuly 4,

Via CM/ECF-Filing

Magistrate Judge James B. Clark, III
United States District Court

District of New Jersey er

50 Walnut Street 202 at et ae
Newark, New Jersey 07102 =< =

RE: Jane Doe v. John Smith
Case No. 2:24-cv-00634

Dear Judge Clark:

This office represents Defendant John Smith, a minor, through his parents and
legal guardians, Jane Smith and Joe Smith (“Defendant”) in the above-captioned
matter. Today, the Court scheduled a telephone status conference for June 12, 2024 at
11:30AM. We respectfully request an adjournment of this telephone status conference
because Mr. Christopher D. Adams is out of the country on vacation until the evening
of June 17, 2024. Mr. Adams is counsel of record in this matter. He has argued all
motions, has had all interactions with Plaintiff's counsel, and has signed all pleadings.
As such, with the consent of Plaintiff’s counsel, | respectfully request an adjournment
of the telephone status conference until sometime after June 17, 2024.

We thank Your Honor for your courtesies and attention to this matter.

cc: All counsel of record (via CM/ECF)

Iselin | Roseland | Red Bank | New York
greenbaumlaw.com
